Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 1 of 7     PageID #: 119

    ORIGINAL                                                 pi^inthe
                                                     UNITED STATES DISTRICT COURT
                                                          district OF HAWAII
  ELLIOT ENOKI #1528
  Acting United States Attorney                                  2 1 2(]JJ                I
  District of Hawaii                                 ,^               f/) jP        .tr-s I
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  UNITED STATES OF AMERICA


                     IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,              CR. NO. pp 1 7 - 00 4 46
                       Plaintiff,       INDICTMENT


       vs.                              18 U.S.C. § 2339B(a)(1)

  IKAIKA ERIK KANG,


                       Defendant.
Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 2 of 7   PageID #: 120




                                 INTRODUCTION


        1.   On or about October 15, 2004, the United States

  Secretary of State designated al- Qaeda in Iraq (AQI), then

  known as Jam ^at al Tawid wa' al-Jahid, as a Foreign Terrorist

  Organization (FTO) under Section 219 of the Immigration and

  Nationality Act and as a Specially Designated Global Terrorist

  entity under section 1(b) of Executive order 13224.

        2.   On or about May 15, 2014, the Secretary of State

  amended the designation of AQI as an FTO under Section 219 of

  the Immigration and Nationality Act and as a Specially

  Designated Global Terrorist entity under section 1(b) of

  Executive Order 13224 to add the alias Islamic State of Iraq and

  the Levant (ISIL) as its primary name. The Secretary of State

  also added the following aliases to the FTO listing: The Islamic

  State of Iraq and al-Sham (^^ISIS" - which is how the FTO will be

  referenced herein), The Islamic State of Iraq and Syria, ad-

  Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al

  Islamiya, and Al-Furquan Establishment for Media Production. On

  September 21, 2015, the Secretary added the following aliases to

  the FTO listing: Islamic State, ISIL, and ISIS.          To date, ISIS

  remains a designated FTO.
Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 3 of 7   PageID #: 121




                                    COUNT 1


                (Attempt To Provide Material Support or
        Resources to Designated Foreign Terrorist Organization)

  The Grand Jury charges:

        Paragraphs 1 and 2 of the Introduction Section of this

  Indictment are incorporated herein by reference.

        That on or about June 21, 2017, in the District of Hawaii,

  IKAIKA ERIK KANG, the Defendant, did knowingly attempt to

  provide "material support or resources," as that term is defined

  in Title 18 United States Code, Section 2339A(b), including

  property, that is, military documents, some of which were not

  available to the public, to a foreign terrorist organization, to

  wit, ISIS, which at all relevant times was designated by the

  Secretary of State as a foreign terrorist organization, knowing

  that ISIS was a designated foreign terrorist organization and

  that ISIS engages in and has engaged in terrorist activity and

  terrorism.


        All in violation of Title 18, United States Code, Section

  2339B(a)(1).


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Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 4 of 7   PageID #: 122




                                    COUNT 2


                (Attempt To Provide Material Support or
        Resources to Designated Foreign Terrorist Organization)

  The Grand Jury further charges:

        Paragraphs 1 and 2 of the Introduction Section of this

  Indictment are incorporated herein by reference.

        That on or about June 23, 2017, in the District of Hawaii,

  IKAIKA ERIK KAMG, the Defendant, did knowingly attempt to

  provide ''material support or resources," as that term is defined

  in Title 18 United States Code, Section 2339A(b) including

  property, that is, military documents, some of which were not

  available to the public, including some documents classified at

  the SECRET level pursuant to Executive Order 13526, to a foreign

  terrorist organization, to wit, ISIS, which at all relevant

  times was designated by the Secretary of State as a foreign

  terrorist organization, knowing that ISIS was a designated

  foreign terrorist organization and that ISIS engages in and has

  engaged in terrorist activity and terrorism.

        All in violation of Title 18, United States Code, Section

  2339B(a)(1).

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Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 5 of 7   PageID #: 123




                                    COUNT 3


                (Attempt To Provide Material Support or
        Resources to Designated Foreign Terrorist Organization)

  The Grand Jury further charges:

        Paragraphs 1 and 2 of the Introduction Section of this

  Indictment are incorporated herein by reference.

        That on or about July 8, 2017, in the District of Hawaii,

  IKAIKA ERIK KANG, the Defendant, did knowingly attempt to

  provide "material support or resources," as that term is defined

  in Title 18 United States Code, Section 2339A(b), including

  property, that is, a GoPro Karma drone, a chest rig (which is a

  piece of military-style equipment worn over the shoulders that

  has chest pouches and is typically used to hold tactical

  equipment, ammunition, and other military gear), and other

  military-style clothing and gear, to a foreign terrorist

  organization, to wit, ISIS, which at all relevant times was

  designated by the Secretary of State as a foreign terrorist

  organization, knowing that ISIS was a designated foreign

  terrorist organization and that ISIS engages in and has engaged

  in terrorist activity and terrorism

        All in violation of Title 18, United States Code, Section

  2339B(a)(1).


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Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 6 of 7   PageID #: 124




                                    COUNT 4


                {Attempt To Provide Material Support or
        Resources to Designated Foreign Terrorist Organization)

  The Grand Jury further charges:

        Paragraphs 1 and 2 of the Introduction Section of this

  Indictment are incorporated herein by reference.

        That on or about from July 8, 2017, in the District of

  Hawaii, IKAIKA ERIK KANG, the Defendant, did knowingly attempt

  to provide "material support or resources," as that term is

  defined in Title 18 United States Code, Section 2339A(b),

  including training in hand-to-hand combat techniques,

  combatives, firearms, and weaponry to a foreign terrorist

  organization, to wit, ISIS, which at all relevant times was

  designated by the Secretary of State as a foreign terrorist

  organization, knowing that ISIS was a designated foreign

  terrorist organization and that ISIS engages in and has engaged

  in terrorist activity and terrorism.

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Case 1:17-cr-00446-SOM-KJM Document 15 Filed 07/21/17 Page 7 of 7   PageID #: 125




        All in violation of Title 18, United States Code, Section

  2339B(a)(1).

        DATED:   July 19, 2017, at Honolulu, Hawaii.

                                           A TRUE BILL




                                           /s/ Foreperson
                                           Foreperson, GRAND JURY
  ELLIOT ENOKI
  Acting United States Attorney
  District of Hawaii




                                 j
  LAWRENCE L. TONG      ^    ^
  Chief, Fraud and Financial Crime Section




  KENNETH M. SORENSON
  Assistant U.S. Attorney




  MARC A. WALLENSTEIN
  Assistant U.S. Attorney




  UNITED STATES V. IKAIKA ERIK KANG
  Cr. No.
  "Indictment"

     CR 17-00 44 6                     ^
